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             EXHIBIT A
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   STATE OF NEW YORK
   LACKAWANNA CITY COURT : COU
                               NTY OF ERIE
   JEFFREY A. HOUSEKNECHT, SR.
                                                                        SUMMONS

                                                                        Index No.:
                         Plaintiff,   '

          vs.




  MERCANTILE ADJUSTMENT BUREAU
                               , LLC

                         Defendant.

  To the above named Defendant:


        You are hereby summoned and requ
                                               ired to appear in the City Court of
 Lackawanna located at 714 Ridge Road                                               the City of
                                        , in said City, County of Erie, State of
                                                                                 New York, by
 serving an answer to the annexed Com
                                          plaint upon Plaintiffs attorney at the
 below; upon your failure to so answ                                             address stated
                                       er, judgment will be taken against you
 demanded in the Complaint, together with                                         for the relief
                                          costs of this action.

 Dated: February 26, 2019
        Lackawanna, New York




                                               Lav/Offices of Jason A. Shear                   •n
                                                                                             rn
                                               Jason A. Shear, Esq.                          i ...j

                                                                                             PO
                                               j shear@j asonshearlaw.com                    —j       O-                  n

                                               Attorneys for Plaintiff
                                                                                            Z3Z
                                               561 Ridge Road                                         J ;
                                                                                            CO
                                               Lackawanna, New York 14218
                                                                                                      ..   ..   .




                                                                                                                    r--
                                                                                            o
                                               Phone: (716) 566-8988

TO:     Mercantile Adjustment Bureau, LLC
        165 Lawrence Bell Drive, Suite 100
        Williamsville, New York 14221


VENUE IS BASED ON DEFENDANT
                            'S B USINESS ADDRESS

NOTE: The law provides that:
      (1) If this summons is served by its deliv
                                                ery to you personally within the County
                                                                                            of
          Erie, you must answer within ten (10)
                                                  days after such service; or
      (2) If this summons is served by delivery
                                                 to any person other than you personally,
                                                                                             or is
          served outside the County of Erie, you
                                                   are allowed thirty (30) days after service
                                                                                               is
          cogpl? te within which to answer.
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   STATE OF NEW YORK
   LACKAWANNA CITY COURT :
                           COUNTY OF ERIE

   JEFFREY A. HOUSEKNECHT, SR.
                                                                        VERIFIED COMPLAINT


                                                                       Index No.:
                             Plaintiff,


                                                                                             UJ
                                                                                             '-O
              vs.

                                                                                            m
                                                                                            •-j)
                                                                                            no

  MERCANTILE ADJUSTMENT BUR
                            EAU, LLC


                                                                                           CO

                            Defendant.                                                     o




                                             COMPLAINT


                                           INTRODUCTION

        1.
         This is an action for damages brou
                                              ght by an individual consumer for
                                                                                 Defendant's
 violation of the Fair Debt Collection
                                        Practices Act, 15 U.S.C § 1692, et
                                                                            seq. (hereinafter
 "FDCPA"), which prohibits debt colle
                                       ctors from engaging in abusive, dece
                                                                           ptive, and unfair
 practices.

    2.  A claim is also brought under New York
                                                    General Business Law § 349(a), which
                                                                                         prohibits
 deception "in the conduct of any busin
                                        ess, trade, or commerce."


                                      JURISDICTION AND VENUE

    3.       Jurisdiction of this Court arises unde
                                                    r 15 U.S.C. § 1692k(d).   Declaratory relief is
available pursuant to 28 U.S.C. § 2201
                                       and § 2202.
    4.  Venue is proper in that the actions whic
                                                h resulted in the causes of action took
                                                                                        place in the
State of New York.

   5.  Venue in this Court is proper in that
                                             the Defendant transacts business here
                                                                                   and the
conduct complained of occurred here.

   6.   Jurisdiction is proper because Defe
                                            ndant, Mercantile Adjustment Bure
                                                                              au is registered
with the New York Secretary of State
                                     .
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      7.  Venue and Jurisdiction are proper because Defen
                                                          dant Mercantile Adjustment Bureau has
  its primary place of business in Erie County,
                                                New York.

      8. Venue and Jurisdiction are proper because Merc
                                                        antile Adjustment Bureau has a place of
  business in New York State located at 165 Lawre
                                                  nce Bell Drive, Suite 100, Williamsville, NY
  14221.

     9.   Venue is proper because Defendants committed
                                                           a tort in Erie County, New York.
      10. Based on the above, Venue and Jurisdiction
                                                        are proper because State and Federal Courts
  have concument jurisdiction over private civil
                                                 actions under the FDCPA.



                                                     PARTIES
     1 1 . Plaintiff,   Jeffrey       A.   Houseknecht,       Sr.   (hereinafter
                                                                    referred to as   "Plaintiff'   or
 "Houseknechf '), is a natural person and is a consu
                                                     mer as defined by the FDCPA.
     12. Defendant, Mercantile Adjustment Burea
                                                      u (hereinafter referred to as "Defendant"
                                                                                                 or
 "MAB"), is a Domestic Limited Liability Comp
                                                    any organized and existing under the law of
                                                                                                the
 State of New York and is a collection agenc
                                                 y engaged in the business of collecting consu
                                                                                               mer
 debts in this state, with a principal place of busine
                                                       ss located at 165 Lawrence Bell Drive, Suite
 100, Williamsville, NY 14221.

    13. The principal purpose of MAB is the collec
                                                         tion of consumer debts in this state and
 Defendant regularly attempts to collect debts
                                               alleged to be due another.
    14. Defendant is engaged in the collection
                                               of debts from consumers using the mail
                                                                                      and
telephone.

    15. Defendant regularly attempts to collect consu
                                                      mer debts alleged to be due another.
    16. Defendant is also engaged in the collec
                                                    tion of debts from consumers via the use of
crediting reporting. Defendant regularly attem
                                                  pts to collect consumer debts alleged to be
                                                                                              due
another. Defendant is a "debt collector" as define
                                                    d by the FDCPA, 15 U.S.C. § 1692a (6).
    17. All references to "Defendant" or "Defe
                                                  ndants" herein shall mean the Defendants
                                                                                            or an
employee(s) or principal(s) of the Defendant(
                                              s).



                                                 BACKGROUND
    18. Defendant was in the process of collecting
                                                   an alleged consumer debt from Houseknecht
which was for family or household purposes.

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       19. Within the last year, Defendant has
                                               been engaging in the collection of said
                                                                                       consumer
   debt.

     20. Defendant, MAB, attempted to colle
                                           ct a consumer debt that Plaintiff did not
                                                                                     owe.
     21. Defendant also reported numerous
                                                 and erroneous derogatory informatio
                                                                                          n            on
  Houseknecht's credit report.

      22. Specifically, MAB reported derogator
                                               y accounts on Plaintiffs Experian Credit
                                                                                        Report.
     23. Houseknecht did not have any defau
                                            lted account(s) that should be reported.
     24. As such, Defendant violated 15 U.S.C
                                               . § 1692e(8) by communicating credit
                                                                                      information
  which is known to be false.

     25. MAB also made deceptive statement
                                            s to Plaintiff in violation of 1 5 U.S.C. §
                                                                                        1 692e.
     26. Based on the above, Defendant, in
                                              attempting to collect a purported cons
                                                                                          umer debt,
 misrepresented the amount of the purp
                                      orted debt and attempted to collect sums
                                                                                   not authorized by
 the contract or by law.




                                    FACTUAL ALLEGA TIONS
    27. Plaintiff requested that MAB send proo
                                               f or documentation regarding the alleged
                                                                                         debt.
    28. MAB never sent any such docu
                                           mentation to Houseknecht showing
                                                                                    that he was
responsible for the purported consumer
                                       debt on which MAB was attempting to
                                                                               collect.
   29. Instead, MAB continued to call Plain
                                             tiff and report incorrect derogatory infor
                                                                                        mation on
Houseknecht's credit report.

    30. After   additional   numerous   calls   and   voicemails   from   MAB,   Plaintiff returned
Defendant's telephone call.

    3 1 . Plaintiff spoke to a representative from
                                                   MAB named Briamia.
  32. MAB told plaintiff that they were attem
                                                 pting to collect an amount of $2,336.85.
  33. Despite Plaintiff informing MAB
                                            that he did not have an account with
                                                                                    MAB's client,
MAB still attempted to collect the dispu
                                         ted debt.
    34. Specifically, MAB told Plaintiff that
                                                  "...Just calling today to see how you'r
                                                                                          e going to
resolve your balance to get this out of colle
                                              ctions today. . . "
   35. Plaintiff told MAB that he was neve
                                          r a patient of Defendant's client.
   36. Plaintiff again told MAB again to mail
                                              proof of any purported debt.


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     37. In addition, MAB falsely reported nume
                                                rous derogatory accounts on Plaintiffs Credi
                                                                                             t
  Report as a collection/charge off.

      38. Based on the above mentioned false credit
                                                    reporting, Plaintiff suffered a lower credit
  score.


      39. Plaintiff had no defaulted credit accou
                                                  nts which would necessitate and warrant
                                                                                          said
  voicemails and contact from MAB.

     40. However, Defendant reported several incorr
                                                        ect and inaccurate negative trade-lines on
  Houseknechf s credit report as a means of forcin
                                                   g Houseknecht to pay a debt he does not owe.
     41. Based on the abusive actions by MAB
                                                    , Plaintiff suffered a great deal of emotional
 distress, nausea, stress, anxiety and loss of sleep.



                                    FIRST CLAIM FOR RELIEF

     42. Plaintiff repeats, re-alleges, and incorporates
                                                         by reference paragraphs one (1) through
 Forty-One (41) above.

     43.   Defendant violated the FDCPA.      Defendant's violations include, but are not limite
                                                                                                d to,
 the following:

    44.  Defendant violated 15 U.S.C. § 1692e(8) by comm
                                                         unicating credit information which is
 known to be false.

    45. Defendant violated 15 U.S.C. § 1692 by using
                                                     false representations and deceptive means
to collect a debt.

   46. Defendant violated 15 U.S.C § 1692e by
                                              deterring Plaintiff from seeking a defense to
Defendant's collection actions.

    47. Defendant violated 15 U.S.C. § 1692e(2)(a)
                                                   by misrepresenting the legal status of an
alleged debt.

    48. Defendant violated 15 U.S.C. § 1692f(l) by
                                                   attempting to collect amounts not permitted
by law.



                                  SECOND CLAIM FOR RELIEF

   49. Plaintiff repeats, re-alleges, and incorporates
                                                       by reference paragraphs one (1) through
Forty-Eight (48) above.

   50. New York CJUL § 349 proscribes "[deceptiv
                                                 e acts or practices in the conduct of any

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  business, trade or commerce or in the furni
                                              shing of any service in this state."
       5 1 . GBL provides that "any person who
                                                 has been injured by reason of any viola
                                                                                           tion of [their
   respective] section[s] may bring an actio
                                               n in his own name to enjoin such unlaw
                                                                                                 ful act or
  practice" as well as to obtain actual dama
                                             ges, or fifty dollars, whichever is great
                                                                                       er.
       52. As set foith hereinbefore, Defendan
                                                t has engaged in deceptive acts and pract
                                                                                               ices within
  the meaning of GBL section 349: name
                                               ly, engaging in a practice of attempting
                                                                                                 to collect
 consumer accounts from New York cons
                                            umers who do not owe said accounts.
      53. By virtue of the harmful results
                                                of its activities, Defendant's actions,
                                                                                             as set forth
 hereinbefore, have caused both consumer
                                             injury and harm to the public interest.
      54. Furthermore, by attempting to collect
                                                 consumer accounts from New York cons
                                                                                              umers who
 do not owe the accounts, MAB was colle
                                            cting, a claim under New York General
                                                                                        Business Law §
 349(a) is proper because Defendant's actio
                                             ns affect the public as a whole.
     55. As set forth hereinbefore, as a resul
                                               t of Defendant's violation of GBL secti
                                                                                               on 349,
 Plaintiff was economically harmed to
                                      his detriment, and is entitled either to actua
                                                                                     l damages in an
 amount to be shown according to proof,
                                        or alternatively and together with Defendan
                                                                                        t, to damages
 in amount of $50.00 pursuant to GBL secti
                                           on 349(h), whichever is greater.


    WHEREFORE, Plaintiff, Jeffrey A. Hous
                                              eknecht, Sr., respectfully requests that
be entered against Defendant, Mercantile                                               judgment
                                         Adjustment Bureau, LLC for the following
                                                                                   :
    A. Declaratory judgment that Defendan
                                          t's conduct violated the FDCPA;
    B. Actual damages;

    C. Statutory damages pursuant to 15 U.S.C
                                              . § 1692k;
    D. Cost and reasonable attorney fees pursu
                                               ant to 15 U.S.C. § 1692k;
   E.    Damages pursuant to NY GBL § 349;

   F.    Attorney fees pursuant to NY GBL § 349;

   G. Punitive damages to be determined
                                        by the Court.
   H. For such other and further relief as the
                                               Court may deem just and proper.



Dated: February 26, 2019
        Lackawanna, New York



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                                     /s/: Jason A, Shear
                                     Jason A. Shear, Esq.
                                     Law Offices of Jason A. Shear
                                     Attorneys for the Plaintiff
                                     561 Ridge Road
                                     Lackawanna, New York 14218
                                     Phone: (716) 566-8988
                                     E-mail: jshear@jasonshearIaw.com




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                                    PLAINTIFF'S VERIFICATION



 STATE OF NEW YORK              )
                               )
 COUNTY OF GENESEE             )



          JEFFREY A. HOUSEKNECHT, SR.,
                                                being duly sworn, states that he is the
 in this action and that the foregoing                                                  PLAINTIFF
                                       COMPLAINT is true to his own know
 matters therein stated to be alleged                                         ledg e, except as to
                                      on information and belief and as to
 it to be true.                                                           those matters he believes




                                              JEFFREY A.7j       H3EKNECHT, SR.



Sworn to me this
    day of January, 2019




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NOTARY PUBLlg



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